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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS


    JENNILYN SALINAS, et al.,                        :
                                                     :   Case No. 6:21-cv-00162
           Plaintiffs,                               :
                                                     :   JUDGE ALAN D. ALBRIGHT
               v.                                    :
                                                     :   MAG. JUDGE JEFFREY MANSKE
    NANCY PELOSI, et al,                             :
                                                     :
          Defendants.                                :


         OHIO DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS


                           INTRODUCTION AND BACKGROUND

         On May 21, 2021, Defendants Ohio Governor Mike DeWine and Ohio Secretary of State

Frank LaRose (the “Ohio Defendants”) filed a Motion to Dismiss Plaintiffs’ First Amended

Complaint pursuant to Fed. R. Civ. P. 12(b)(1) for lack of subject-matter jurisdiction and Eleventh

Amendment immunity, Fed. R. Civ. P. 12(b)(2) for lack of personal jurisdiction, and Fed. R. Civ.

P. 12(b)(6) for failure to state a claim. Doc. 88.

         On June 10, 2021, Plaintiffs filed a Second Amended Complaint without leave of the Court

or consent of the Ohio Defendants. 1 Doc. 145. Plaintiffs’ Second Amended Complaint adds new

allegations, new causes of action (including one count under the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. § 1962(c)), and new exhibits. It also changed the nature

of Plaintiffs’ suit against the Ohio Defendants from one in their official capacities, see Doc. 24-3

at 9 (suing each of the Ohio Defendants “as an individual in his official capacity”) to one in their




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 The Ohio Defendants have requested an extension of time to respond to Plaintiffs’ Second
Amended Complaint (Doc. 156) and are not waiving that right to respond by filing this Reply.
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individual capacities. See Doc. 145 at ¶ 22 (“Plaintiffs additionally names [sic] as Defendants,

individually and in their personal capacities all the state Governors and Secretaries of State . . . .).

        While normally filing an amended complaint would obviate the need to respond to a

pending motion to dismiss, Plaintiffs still filed a Response to the Ohio Defendants’ Motion to

Dismiss. Doc. 149. In their Response, Plaintiffs argue that their Second Amended Complaint

moots the Ohio Defendants’ Motion to Dismiss. See id. at 1.

        On June 17, 2021, the Georgia Defendants, who have also filed a motion to dismiss

Plaintiffs’ First Amended Complaint, filed a Motion to Strike Plaintiffs’ Second Amended

Complaint. Doc. 157. The Ohio Defendants agree with the Georgia Defendants that Plaintiffs’

Second Amended Complaint was improperly filed and that Plaintiffs’ Second Amended Complaint

should be stricken. Plaintiffs’ First Amended Complaint, which the Ohio Defendants moved to

dismiss, should still be the operative complaint in this case.

        This Court should strike Plaintiffs’ Second Amended Complaint for the reasons set forth

in the Georgia Defendants’ Motion to Strike (Doc. 157) and dismiss Plaintiffs’ First Amended

Complaint for the reasons set forth in the Ohio Defendants’ Motion to Dismiss (Doc. 88).

                                     LAW AND ARGUMENT

        Plaintiffs did not substantively respond to the Ohio Defendants’ arguments in their Motion

to Dismiss that (1) Plaintiffs lack standing, (2) the Ohio Defendants are entitled to Eleventh

Amendment Immunity, (3) this Court lacks personal jurisdiction over the Ohio Defendants, and

(4) Plaintiffs claims fail as a matter of law. Rather, Plaintiffs’ Response merely bolsters their new

RICO claim alleged for the first time in their improperly-filed Second Amended Complaint, which

Plaintiffs believe defeats each of the Ohio Defendants’ defenses to their First Amended Complaint.

The Ohio Defendants do not address this new RICO claim at this time, other than to note its




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inapplicability to the Ohio Defendants’ Motion to Dismiss Plaintiffs’ First Amended Complaint,

the operative complaint in this case.

I.     This Court Lacks Subject-Matter Jurisdiction Over the Entire Lawsuit.

       The Ohio Defendants’ first argument in their Motion to Dismiss is that Plaintiffs lack

standing because (1) Plaintiffs cannot establish that they suffered an injury in fact; (2) Plaintiffs

claimed injuries are not “fairly traceable to the challenged action” of the Ohio Defendants; and (3)

Plaintiffs’ asserted injuries are not “redressable by a favorable ruling.” Doc. 88 at 3–5.

       In responding to the first prong of Defendants’ standing argument, Plaintiffs rely on their

new RICO claim, Doc. 149 at ¶ 34, as well as on sweeping statements not alleged in the First

Amended Complaint that only reinforce that their alleged injuries are generalized grievances. See,

e.g., id. at ¶ 38 (alleging that “many left-leaning Americans are in favor of a more ‘collectivist’

America with a more authoritarian form of government that exalts ‘equity’ over equality of

individual rights and personal responsibility through redistribution of wealth at the direction of the

political class such as one would see in countries like Cuba or Venezuela”); id. at ¶ 39 (alleging

that “many left-leaning Americans approve of the deprivations of First Amendment rights set forth

in the Complaint because Defendants’ actions result in silencing those who seek to express more

conservative political views”). Likewise, Plaintiffs’ only rebuttal to the second prong of the Ohio

Defendants’ standing argument is to assert that the Ohio Defendants acted “in furtherance of a

pattern of racketeering.” Doc. 149 at ¶¶ 40–43. Racketeering is not alleged anywhere in the First

Amended Complaint, see Doc. 24, which is still the operative complaint in this case. Finally,

Plaintiffs did not address at all the third prong of the Ohio Defendants’ standing argument that

Plaintiffs’ asserted injuries are not redressable by a favorable ruling. For each of these unrebutted

reasons, Plaintiffs lack standing, and their First Amended Complaint should be dismissed.




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        The Ohio Defendants also argued in their Motion to Dismiss that this action is moot,

Plaintiffs’ claims are barred by laches, and the political-question doctrine warrants dismissal of

this case. Doc. 88 at 5, 10. Plaintiffs’ Responses in opposition to these defenses similarly fails.

II.     Eleventh Amendment Immunity Bars Plaintiffs’ Claims Against the Ohio
        Defendants.

        The Ohio Defendants also argued in their Motion to Dismiss that their Eleventh

Amendment immunity bars Plaintiffs’ claims against them. Doc. 88 at 6–7. Plaintiffs admit in

their Response that their First Amended Complaint “gave the impression that they were suing the

Ohio Defendants in their ‘official capacity.’” Doc. 149 at ¶¶ 26–28. Rather than argue against

this defense to suit in this Court, Plaintiffs state that “[t]his error has been corrected in the Second

Amended Complaint,” mooting the Ohio Defendants’ defense. Id. at ¶ 26; see also id. at ¶ 28

(“Now that Plaintiffs have amended the complaint to make it clear it is suit against the state

officials in their individual capacities, the Eleventh Amendment issue raised by the Ohio

Defendants is moot.”) By arguing only that their Second Amended Complaint fixes a defect in

their First Amended Complaint, Plaintiffs admit that their First Amended Complaint is barred by

the Ohio Defendants’ Eleventh Amendment immunity and should be dismissed.

III.    Plaintiffs’ Complaint Must Be Dismissed for Lack of Personal Jurisdiction over the
        Ohio Defendants.

        The Ohio Defendants also argued in their Motion to Dismiss that Plaintiffs’ First Amended

Complaint must be dismissed for lack of personal jurisdiction over them. Doc. 88 at 7–10. Rather

than respond to the merits of this argument, Plaintiffs argue that their new RICO claim gives the

Court pendant personal jurisdiction over their remaining claims—the same claims they alleged in

their First Amended Complaint. See Doc. 149 at ¶¶ 15–17. While the Fifth Circuit has never

addressed pendant personal jurisdiction, see Nat’l Oil Well Varco, L.P. v. Sadagopan, No. H-16-

2261, 2017 U.S. Dist. LEXIS 107115, 2017 WL 2957908, at *5-*6 (S.D. Tex. July 11, 2017),


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pendant personal jurisdiction “exists when a court possesses personal jurisdiction over a defendant

for one claim, lacks an independent basis for personal jurisdiction over the defendant for another

claim that arises out of the same nucleus of operative fact, and then, because it possesses personal

jurisdiction over the first claim, asserts personal jurisdiction over the second claim.” Rolls-Royce

Corp. v. Heros, Inc., 576 F. Supp. 2d 765, 783 (N.D. Tex. 2008) (quoting United States v. Botefuhr,

309 F.3d 1263, 1272–73 (10th Cir. 2002)) (emphasis added).

       By arguing for pendant personal jurisdiction in their Response, Plaintiffs concede that this

Court lacks personal jurisdiction over the Ohio Defendants as to the original claims in their

Amended Complaint. If this Court had personal jurisdiction over the Ohio Defendants as to those

claims, it would not need pendant personal jurisdiction over them via the RICO claim alleged for

the first time in Plaintiffs’ Second Amended Complaint. Without Plaintiffs’ new RICO claim, this

Court has neither personal jurisdiction nor pendant personal jurisdiction over the claims in

Plaintiffs’ First Amended Complaint, the operative complaint in this case. As this Court clearly

lacks personal jurisdiction over the Ohio Defendants, they should be dismissed. 2

IV.    On the Merits, Plaintiffs Fail to State Any Claim for Relief Against the Ohio
       Defendants.

       Finally, the Ohio Defendants argued in their Motion to Dismiss that the claims in Plaintiffs

Amended Complaint fail to state any claim for relief against the Ohio Defendants. Doc. 88 at 10–

14. Plaintiffs concede in their Response that their Bivens claim in inapplicable to the Ohio

Defendants. See Doc. 149 at ¶ 46 (“Plaintiffs did not intended [sic] to bring Bivens claims against

the Ohio Defendants and have cleared up that issue in the [Second Amended] Complaint as well”).

And consistent with the rest of their Response, Plaintiffs’ argument as to the merit of their 42



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  The Ohio Defendants do not concede that this Court has personal jurisdiction or pendant personal
jurisdiction over them even if Plaintiffs are permitted to assert their new RICO claim.


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U.S.C. §§ 1983 and 1985 claims relies exclusively on the new allegations in their Second Amended

Complaint. See id. at ¶ 44 (citing the newly-alleged “pattern of racketeering” already discussed);

id. at ¶ 45 (citing “paragraphs 223–25 of the Complaint,” which must mean the Second Amended

Complaint, as the First Amended Complaint has only 198 paragraphs). As the Ohio Defendants

argued in their Motion to Dismiss, Plaintiffs’ claims against them are nothing more than “naked

assertions devoid of further factual enhancement” and are exactly the kind of “unadorned, the-

defendant-unlawfully-harmed-me accusation[s]” that fails to state a claim for relief under Ashcroft

v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937 (2009). As a result, they should be dismissed.

                                        CONCLUSION

       For the above reasons, as well as those set forth in their Motion to Dismiss (Doc. 88),

Defendants Ohio Governor Mike DeWine and Ohio Secretary of State Frank LaRose respectfully

request this Court to dismiss Plaintiffs’ First Amended Complaint (Doc. 24).

                                             Respectfully submitted,

                                             DAVE YOST
                                             Ohio Attorney General

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2021, the foregoing was filed with the Court. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties for whom

counsel has entered an appearance. Parties may access this filing through the Court’s system.



                                              /s/ Caitlyn Nestleroth Johnson
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